                UNITED STATES DISTRICT COURT FOR THE
                    EASTERN DISTRICT OF TENNESSEE
                          AT GREENEVILLE




UNITED STATES OF AMERICA                      )
                                              )
v.                                            )      NO. 2:08-CR-102(02)
                                              )
WILEY E. BARNETT                              )



                                     ORDER

             This criminal matter is before the Court to consider the Report and

Recommendation of the United States Magistrate Judge dated November 10, 2009.

[Doc. 629]. The Magistrate Judge recommends that Richard Wards’s motion to

suppress evidence seized during the search of 750 Georgia Street in Johnson City

Tennessee be denied. This motion was adopted by the defendant Wiley E. Barnett,

and he has filed an objection to this report. [Doc. 651].

             After careful and de novo consideration of the Report and Recommenda-

tion of the United States Magistrate Judge, the defendant’s objection to that Report

and Recommendation, the defendant’s motion to suppress, the response of the

government, the transcript of the hearing held on October 27, 2009, and for the

reasons set out in the Report and Recommendation, which are incorporated by



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reference herein, it is hereby ORDERED that this Report and Recommendation is

ADOPTED and APPROVED, and that the defendant's motion to suppress evidence

seized during the search of 750 Georgia Street in Johnson City Tennessee is

DENIED. [Doc. 403].



           ENTER:

                                               s/J. RONNIE GREER
                                          UNITED STATES DISTRICT JUDGE




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